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6                        IN THE UNITED STATES DISTRICT COURT
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                                    DISTRICT OF ARIZONA
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     Ronald H. Pratte,                                Case No.: 2: 19-cv-00239-PHX-GMS

10                 Plaintiff,

11                                                         [PROPOSED] STIPULATED
     vs.
                                                             PROTECTIVE ORDER
12
     Jeffrey Bardwell and Fanny F. Bardwell,
13   husband and wife,
14                 Defendants.
15
            Upon the stipulation of the parties, and for good cause shown, and for the purpose
16
     of protecting confidential personal or business information and facilitating discovery,
17

18          IT IS HEREBY ORDERED as follows:
19          1.     Discovery in this case may require production of documents and disclosure
20   of information which the parties or producing party (the “producing party”) consider
21   confidential and/or proprietary in nature which, in turn, requires protection against
22   unrestricted disclosure and use.
23          2.     The producing party may designate documents, ESI, or other materials
24   “Confidential,” as specified below. The producing party shall apply a confidentiality
25
     designation only when that party has a reasonable, good faith belief that the information
26
     so designated constitutes “Confidential” material. The protections conferred by this
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     Order cover not only the protected information itself, but also any information copied or
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     extracted therefrom, as well as copies, excerpts, summaries, or compilations thereof, plus



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     testimony, conversations, or presentations by parties or counsel to or in court or in other
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     settings that might disclose protected material to persons not authorized to receive such
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     material.
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                   a.      Manner and Timing of Designations. Except as otherwise provided
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            in this Order, or as otherwise stipulated or ordered, disclosure or discovery
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            material must be designated for protection under this Order by clearly designating
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            the material before it is disclosed or produced, or for information disclosed before
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            entry of this Order, within thirty (30) days following the entry of this Order. Any

10          and all confidential designations made by the parties must be made in good faith.

11                 b.      “Confidential” Information or Items.        Materials that may be

12          designated as “Confidential” include information (regardless of how generated,
13          stored, or maintained), testimony, or tangible things obtained during discovery in
14          this action that reveal a trade secret, or other confidential research, development,
15          or financial information that is commercially sensitive, or that otherwise is entitled
16          to protective treatment under Fed R. Civ. P. 26(c), and personal information that is
17          protected from disclosure by statute, regulation, or otherwise entitled to protection
18          from public disclosure.
19                 c.      The designation of materials as “Confidential” shall be made as
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            follows:
21
                           (i)    for produced documents, by imprinting by any means
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                        including hand-written notations the word “Confidential” on the face of
23
                        each page of a document so designated or in a similarly conspicuous
24
                        location for non-document materials;
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                           (ii)   for written discovery responses, by imprinting the word
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                        “Confidential” next to or above any response to a discovery request or
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                        on each page of a response;
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                         (iii)   for depositions, by indicating on the record at the deposition
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                     which portions of the transcript and/or responses should be treated as
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                     “Confidential.” Alternatively, within thirty (30) days of receipt of a
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                     transcript or recording of a deposition or other pretrial or court
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                     proceeding, the offering or sponsoring party or non-party may designate
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                     such transcript or recording, or any portion thereof, as “Confidential” by
7
                     notifying all parties, in writing, of the specific pages and lines of the
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9
                     transcript or recording that should be treated as “Confidential.” All

10                   transcripts or recordings of depositions shall be treated as

11                   “Confidential” for thirty (30) days after receipt of the transcript or

12                   recording, or until any and all written notices of Confidential
13                   designations are received, whichever occurs first. Transcripts
14                   designated at the time of the deposition as containing Confidential
15                   material shall be clearly and conspicuously marked by the court reporter
16                   on the cover of the transcript as follows: “This transcript contains
17                   information designated as CONFIDENTIAL under the terms of the
18                   Parties’ Stipulated Protective Order entered by the Court in this
19                   case”;
20
                         (iv)    for ESI, either by imprinting the word “Confidential” on any
21
                     disk or storage medium, or on the face of each page of a document so
22
                     designated, or by designating the production as “Confidential” in the
23
                     transmittal cover letter.
24
           3.     Subpoenas duces tecum. For documents produced by non-parties pursuant
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     to subpoenas duces tecum, the party that receives the documents pursuant to the subpoena
26
     will promptly (not more than 14 calendar days) produce copies of all documents received
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     to the other parties in this litigation and not await the filing of a supplemental MIDP
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     disclosure. Within fifteen days of providing copies of the subpoenaed documents to the


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     other parties, any party shall have the ability to designate any of the subpoenaed
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     documents “confidential” pursuant to this Stipulated Protective Order.
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            4.     Any information or documents so designated shall be used only in the
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     prosecution and defense of this case through the conclusion of this case, including
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     appeals if any, and shall be restricted solely to the following persons unless and until this
6
     Court rules that any such protected information should be disclosed beyond the limits
7
     permitted by this Order:
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9
                          a.     The parties and officers, members, or persons employed

10                 directly by the parties, the attorneys of record for the parties, and persons

11                 directly employed by the attorneys of record for the specific and sole

12                 purpose of assisting said attorneys in the case. Such individuals shall be
13                 bound by the terms of this Order;
14                        b.     Experts and consultants retained by the attorneys or parties in
15                 the case, provided that each such expert and consultant shall execute a copy
16                 of Exhibit A, attached hereto, and provide a copy of the executed Exhibit A
17                 to the producing party;
18                        c.     Non-party deponents, on the condition that they are first
19                 placed on notice that they are prohibited from disclosing or making use of
20
                   any such protected information which may be disclosed to them in the
21
                   course of discovery or any other proceeding in the case, and who agree on
22
                   the record that they will maintain the confidentiality of the information
23
                   disclosed;
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                          d.     The Court, Court personnel and staff, and stenographers and
25
                   videographers at any deposition or Court proceeding;
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                          e.     Outside and/or in-house counsel of any corporate entities or
27
                   defendants;
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                          f.     Authors, addressees, originators, or producing party of the


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                   protected information;
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                          g.     Jurors at any trial in this matter may be presented such
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                   materials (subject to redaction of social security numbers and other
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                   personal non-relevant data) as exhibits, if otherwise relevant to any claim or
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                   defense and if found admissible by the Court subject to any other
6
                   evidentiary challenges.
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            5.     Copies of protected documents may be made for the experts and
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9
     consultants described in paragraph 4(b), provided such individuals comply with the

10   requirements of paragraph 4(b).

11          6.     All transcripts, depositions, exhibits, answers to interrogatories, and other

12   documents filed with the Court during the case that have been designated by any party as
13   “Confidential,” pursuant to paragraph 2(C) above, shall be filed in accordance with the
14   Court’s procedure(s) under Local Rule 5.6.
15          7.     All protected information, as well as duplicates and other documents
16   referring in whole or in part to the protected information and the information contained
17   therein, shall be maintained in confidence by all counsel and persons to whom disclosure
18   is made pursuant to this Order, and shall be used only for purposes of this case or as
19   provided for herein, and shall not be disclosed to anyone other than the persons and in the
20
     manner described herein.
21
            8.     On final termination of this action, including appeals, if any, each party and
22
     other person subject to the terms hereof shall return to the producing party all materials
23
     and documents containing protected information, all copies, summaries, and abstracts
24
     thereof, and all other materials, memoranda or documents embodying data concerning
25
     said material. Alternatively, and subject to the provisions of paragraph 12 below, the
26
     parties or their counsel may certify to the opposing party that all documents marked
27
     “Confidential” have been deleted within thirty days after a final termination of this
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     action. There is not a final termination of this action until all time periods to appeal, if


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     any, have been exhausted.
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            9.     Entry of this Order shall be without prejudice to any party’s motion for
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     relief from or modification of the provisions hereof or to any other motion relating to the
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     production, exchange, or use of any document or ESI, or other information in the course
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     of this action. If a party disagrees with a producing party’s designation of information as
6
     “Confidential,” or disputes the limitations on access to be accorded such information
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     under this Order, the party contesting the designation or restriction on access shall
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9
     provide to the producing party written notice of its disagreement and specifically identify

10   the information or restriction on access in dispute. If, despite good faith effort, the

11   dispute cannot be resolved informally by the parties within ten (10) business days of the

12   producing party’s receipt of the written notice, the party contesting the designation or
13   restriction on access may seek a determination from the Court with respect to the
14   propriety of the “confidential” designation. The producing party shall then have five (5)
15   business days from the filing of a motion contesting the designation or restriction on
16   access to file an opposition to such motion, following which the contesting party shall be
17   afforded three (3) business days to file a reply memorandum. The “Confidential” status
18   of the challenged material shall be maintained until the Court shall rule on the motion.
19   While the challenging party must initiate the motion before the Court, it is the burden of
20
     the party seeking protection under this Order to demonstrate that the “Confidential”
21
     designation is appropriate. A challenge under this paragraph shall not affect a party’s
22
     right of access to “Confidential” material or to disclose information as provided for in
23
     this Order. A party does not waive its right to challenge a confidentiality designation by
24
     not electing to mount a challenge within any specific time period after the original
25
     designation is made.
26
            10.    Nothing contained in this Order or any designation of confidentiality
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     hereunder, or any failure to make such designation, shall be used or characterized by any
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     party as an admission by a party or a party opponent. Nothing in this Order shall be


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     deemed an admission that any particular information designated as “Confidential” is
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     entitled to protection under the Order, Fed. R. Civ. P. 26(c), or any other law. Nothing in
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     this Order shall be construed as granting any person or entity a right to receive specific
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     “Confidential” information where a court has entered an order precluding that person or
5
     entity from obtaining access to that information.
6
            The parties specifically reserve the right to challenge the designation of any
7
     particular information as “Confidential,” and agree that no party waives any right it
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9
     otherwise would have to object to disclosing or producing any information or item on any

10   ground not addressed in this Order.

11          Similarly, no Party waives any right to object on any ground to introduction or use

12   as evidence of any of the disclosure or discovery material covered by this Order.
13   Furthermore, the parties specifically reserve the right to apply to the Court for a further
14   protective order or in camera inspection relating to any protected information or
15   discovery material, and the right to seek a modification of this Order.
16          11.    The inadvertent or unintentional disclosure by the producing party shall not
17   be deemed a waiver of the confidential nature of the information disclosed.
18          12.    Notwithstanding paragraph 8 above, in the event Plaintiff prevails in whole
19   or in part on any of his claims, the parties reasonably foresee the possibility that they may
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     need to amend various state and federal tax returns to ensure compliance with federal and
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     state law in light of changed positions. While the provisions of confidentiality shall
22
     continue to apply to the Parties with respect to disclosure to any third-parties generally,
23
     retention of confidential documents and the disclosure of any pertinent confidential
24
     documents or tax records or returns may become necessary for the purpose of amending
25
     pertinent tax returns and explaining or justifying past positions taken by the parties to
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     state or federal taxing authorities with respect to any relevant tax years. Any and all other
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     confidential information not necessary for the purpose specified herein shall remain
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     subject to return or destruction as provided in paragraph 8 above.


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            13.    The parties and any other person(s) subject to the terms of this Order agree
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     that the Court shall retain jurisdiction over them for the purpose of enforcing this Order.
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     This Order shall survive the termination of this lawsuit.
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     DATED this _____ day of _________, 2019.
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                                            EXHIBIT A
7
            ACKNOWLEDGMENT OF CONFIDENTIALITY DESIGNATIONS AND
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9
            AGREEMENT TO BE BOUND BY TERMS OF COURT ORDER

10          I, __________________, hereby acknowledge that I may receive confidential

11   information in connection with the following case:

12          Ronald H. Pratte v. Jeffery Bardwell, et al., Case No. 2:19-cv-00239-PHX-GMS,
13   currently pending in the United States District Court for the District of Arizona.
14          I hereby certify my understanding that if I receive designated confidential
15   information it is being provided to me pursuant to the terms and restrictions of the
16   Protective Order entered on _______________, ____, in this case. I further certify that I
17   have been given a copy of and have read the terms of that Protective Order, that I agree
18   to be bound by its terms, and that I submit to the jurisdiction of the Court for purposes of
19   enforcing that Protective Order.
20
            Dated this _____ day of _______________, _______.
21

22
            ___________________________________
23
            Signature
24
            ____________________________________
25
            Printed Name
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